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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11
12   IN RE JUUL LABS, INC., MARKETING,           CASE NO. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
13   LIABILITY LITIGATION                        [PROPOSED] ORDER REGARDING
                                                 ADMINISTRATION OF JLI AND ALTRIA
14                                               CLASS ACTION SETTLEMENTS
     This Document Relates to:
15
     CLASS ACTIONS
16                                               HON. WILLIAM H. ORRICK III
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              [PROPOSED] ORDER REGARDING ADMINISTRATION OF JLI AND ALTRIA
                               CLASS ACTION SETTLEMENTS
                                CASE NO. 19-md-02913-WHO
          Case 3:19-md-02913-WHO            Document 4350        Filed 12/06/24      Page 2 of 2




 1          The Court granted final approval of the Class Action Settlements with JLI and Altria. Dkts.
 2   4138, 4212. After Class Counsel and the Settlement Administrator, Epiq, completed the claims review
 3   process, the Court authorized distribution of the Net Settlement Fund to 842,004 valid claimants. Dkt.
 4   4326. Epiq began distributing funds on October 18, 2024, but some payments remain pending and
 5   require additional action by the claimant to complete. To maximize the number of valid claimants who
 6   can be successfully contacted to complete payment distribution, the Court approves and directs Epiq to
 7   contact claimants via text message if necessary to follow up with them about their payments.
 8          Regarding settlement administration expenses, the Court approves the $129,900.22 in costs
 9   above the pre-approved amount reflected in the October 2024 invoices submitted by Class Counsel.
10   Consistent with the Court’s previous direction, Class Counsel shall seek approval for additional costs
11   with supporting documentation.
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14          IT IS SO ORDERED.
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17   Dated: _December 6, 2024_______                     ________________________________
                                                         Honorable Judge William H. Orrick III
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              [PROPOSED] ORDER REGARDING ADMINISTRATION OF JLI AND ALTRIA
                               CLASS ACTION SETTLEMENTS
                                CASE NO. 19-md-02913-WHO
